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                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

 UNITED STATES OF AMERICA                        §
                                                 §
 V.                                              §     CASE NO. 4:10-CR-16(5)
                                                 §
 LESLIE JEAN KLOCK                               §


                       MEMORANDUM ORDER ADOPTING
          FINDINGS OF FACT AND RECOMMENDATION ON PLEA OF TRUE

        The Court referred this matter to United States Magistrate Judge Keith F. Giblin, at

 Beaumont, Texas, for consideration pursuant to 28 U.S.C. § 636(b) and the Local Rules for the

 United States District Court for the Eastern District of Texas. In accordance with 18 U.S.C. §

 3401(i) and 18 U.S.C. § 3583(e), Judge Giblin held a hearing and submitted findings of fact and a

 recommendation on the revocation of the defendant’s supervised release.

        Having conducted the proceedings in the form and manner prescribed by Federal Rule of

 Criminal Procedure 11 and 18 U.S.C. § 3583, the magistrate judge issued his Findings of Fact and

 Recommendation on Plea of True [doc. #330]. The magistrate judge recommended that the Court

 revoke the defendant’s supervised release and impose a term of imprisonment for the revocation with

 no additional supervision to follow.

         The parties have not objected to Judge Giblin’s report, and the defendant waived her right

 to be present and allocute at sentencing. Accordingly, after review, the Court concludes that the

 Findings of Fact and Recommendation should be accepted.




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        It is ORDERED that the Findings of Fact and Recommendation on Plea of True [doc. #330]

 are ADOPTED. The Court finds that defendant, Leslie Jean Klock, violated conditions of her

 supervised release. The Court accordingly ORDERS that the defendant’s term of supervision is

 REVOKED. Pursuant to the magistrate judge’s recommendation, the Court ORDERS the

 defendant to serve a term of twelve (12) months and one (1) day for the revocation, with no further

 term of supervised release is to follow. The Court also recommends placement in the Federal Prison

 Camp in Bryan, Texas, if possible, for service of the imprisonment term.

              .    SIGNED this the 28th day of January, 2013.




                                                            _______________________________
                                                            RICHARD A. SCHELL
                                                            UNITED STATES DISTRICT JUDGE




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